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1           LAW OFFICES OF
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                State Bar #063214
4

5    ATTORNEYS FOR:          Defendant
6

7                                    IN THE UNITED STATES DISTRICT COURT

8                                   FOR THE EASTERN DISTRICT OF CALIFORNIA

9
10    UNITED STATES OF AMERICA
                                                     No. CR. S 06-0356 FCD
11                                     Plaintiff,
                                                     ORDER CONTINUING STATUS
12         v.
                                                     HEARING FROM NOVEMBER 20,
13                                                   2006 AT 10:00 AM TO JANUARY 8,
      SAM WANG CHAO, et al.,                         2007 AT 10:00 AM.
14                    Defendants.                    EXCLUSION OF TIME

15

16          It is hereby stipulated by the defendants through their undersigned counsel, and

17   the United States, through it’s undersigned counsel, that the date now set for the initial
18   Status Conference Hearing, November 20, 2006 at 9:30 am; be continued without
19
     appearance to January 8, 2007 at 9:30 am.
20
     The parties stipulate that time be excluded pursuant to the Speedy Trial Act, 18 U.S.C.
21
     §3161(h)(8)(B)(iv), to allow sufficient time for counsel to be prepared,to receive the new
22

23   discovery that the government has recently acquired, to review the physical evidence

24   seized during the search as well as to continue their investigation of the circumstances

25   of the allegations found in the Indictment.
26   ///
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     ///
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               2             The parties further stipulate and agree that the Court may make a finding that this is
               3
                      an appropriate exclusion of time within the meaning of Title 18 U.S.C. Section
               4
                      3161(h)(8)(B)(iv), Local Code T4 and that the ends of justice to be served by this
               5
                      continuance outweigh the best interests of the public and the defendants in a speedy trial.
               6

               7      Dated: November 16, 2006
                                                                      McGREGOR W. SCOTT
               8                                                      United States Attorney

               9
                                                                      By: /s/ ROBERT M. TWISS ROBERT M. TWISS
             10                                                       Assistant U. S. Attorney
             11

             12                                                       By: /S/CHRISTOPHER H. WING
                                                                      CHRISTOPHER H. WING
             13                                                       Attorney for Defendant CHAO
             14

             15                                                       By: /S/CLYDE M. BLACKMON
                                                                      CLYDE M. BLACKMON
             16                                                       Attorney for Defendant LIENG

             17
                                                                      By: /S/JERRY L. CHONG
             18                                                       JERRY CHONG
             19                                                       Attorney for Defendnat HAU

             20

             21       ///

             22       ///

             23       ///

             24       ///

             25       ///

             26       ///

             27       ///

             28       ///
LAW OFFICES OF
CHRISTOPHER H. WING
SACRAMENTO, CA.       ///
                                                                     2
                            Case 2:06-cr-00356-MCE Document 38 Filed 11/17/06 Page 3 of 3


               1

               2                                                   ORDER

               3             This matter having come on before me pursuant to the stipulation of the parties

               4      and good cause appearing therefrom:

               5             IT IS ORDERED THAT: the Status Conference Hearing now set for

               6      November 20, 2006 at 10:00 am is vacated and the matter set for a Status Conference

               7      Hearing on, January 8, 2007 at 10:00 am.

               8             Further, the Court finds that the defendants' need for additional time to prepare

               9      exceeds the public interest in a trial within 70 days, and therefore the interests of justice

             10       warrant a further exclusion of time until the hearing on January 8, 2007 and based upon

             11       that finding, the Court excludes time based upon that representation of the parties from

             12       November 20, 2006 pursuant to the Speedy Trial Act, 18 U.S.C. §3161(h)(8)(B)(iv) to

             13       allow sufficient time for counsel to be prepared, [Local Code T4], until the next

             14       appearance, on January 8, 2007 or by further order of this Court.

             15
                      Dated: November 17, 2006
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LAW OFFICES OF
CHRISTOPHER H. WING
SACRAMENTO, CA.       ///
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